        Case:
      Case    23-35440, 10/30/2024,
           1:22-cv-00329-BLW        ID: 12912890,
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                           NOT FOR PUBLICATION                          FILED
                   UNITED STATES COURT OF APPEALS                       OCT 30 2024
                                                                    MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS
                          FOR THE NINTH CIRCUIT

UNITED STATES OF AMERICA,                      Nos. 23-35440, 23-35450

                Plaintiff-Appellee,

 v.                                            D.C. No. 1:22-cv-00329-BLW
                                               District of Idaho,
STATE OF IDAHO,                                Boise

                Defendant,                     ORDER

 v.

MIKE MOYLE, Speaker of the Idaho House
of Representatives; CHUCK WINDER,
President Pro Tempore of the Idaho Senate;
THE SIXTY-SEVENTH IDAHO
LEGISLATURE, Proposed Intervenor-
Defendants,

                Movants-Appellants.

MURGUIA, Chief Judge.

      Oral argument in this en banc case will be held at 1:30 p.m. on Tuesday,

December 10, 2024, in Courtroom Three of the Richard H. Chambers Courthouse,

located at 125 South Grand Avenue in Pasadena, California 91105.
